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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. DUNIVAN2017 OK 101Case Number: SCBD-6604Decided: 12/18/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 101, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 



State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
John Douglas Dunivan, Respondent.




ORDER OF IMMEDIATE INTERIM SUSPENSION


¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Information, Plea, and Deferred Sentence, in the matter of State of Oklahoma v. John Douglas Dunivan, CF-2016-83, in Blaine County. On December 4, 2017, John Douglas Dunivan entered an Alford plea guilty to the following crime, occurring on March 25, 2016: Violation of a Protective Order, a misdemeanor, in violation of 22 O.S. 2011 § 60.6. On December 4, 2017, the Court entered a one-year deferred sentence, until December 4, 2018.

¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that John Douglas Dunivan is immediately suspended from the practice of law. John Douglas Dunivan is directed to show cause, if any, no later than December 29, 2017, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until January 9, 2018, to respond.

¶3 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, John Douglas Dunivan has until January 25, 2018, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until February 19, 2018, to respond.

¶4 DONE BY ORDER OF THE SUPREME COURT on December 18, 2017.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.







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